Case 8:19-cr-00085-AG Document 7 Filed 05/20/19 Page1of1 Page ID #:25

 

 

 

 

 

Memorandum
CASE NO. SACR19-00085 AG
Subject: Date:
United States v. Aquinas Kasbar May 17, 2019
To: From: se Qn =
am
KIRY Kk. GRAY DANIEL H. AHN ae ca
Clerk, United States District Court Assistant United States At ong in =
Central District of California Criminal Division eo ©
zon =
For purposes of determining whether the above-referenced matter being filed o Mase 2 2629
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(a) should be assigned to the Honorable André Birotte Jr., it
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X] is not

a matter that was pending in the United States Attorney’s Office on or before August 8,
2014, the date the Honorable André Birotte Jr. resigned from his position as the United
States Attorney for the Central District of California.

(b) should be assigned to the Honorable Michael W. Fitzgerald, it
LJ is
is not

a matter pending in the National Security Section or one in which the National Security

Section has previously been involved; or (2) a matter in which current Assistant United

States Attorney Patrick Fitzgerald is or has been personally involved or on which he has
personally consulted while employed in the USAG

 

DANIEL H. AHN
Assistant United States Attorney
Criminal Division

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